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            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OFAtABAMA
                                            Jfl 1
                     NORTHERN DIVISION
                                  ?L?77 tQV
BRANDON LEE WILLIAMS                         2 _

         Plaintiff,                                    )
V.)                                                          2-2O1OS-WC-
                                                             JURYDEMAND
THE CITY OF MONTGOMERY; DAVID E. SHIRAB;)
MATTHEW D. GEIER; BLAKE F. HICKS;                 )
in their individual capacity as police officers   )
employed with The City of Montgomery & its police )
department,                                       )
                                                  )
         Defendants.                                   )
                                      COMPLAINT

         COMES NOW, Plaintiff Brandon Lee Williams, by and through his undersigned

counsel, and for want of prosecution, files this complaint against defendants City of

Montgomery, David E. Shirah, Matthew D. Geier and Blake F. Hicks, in the above-styled

cause:

                        THE PARTIES, JURISDICTION AND VENUE

         1.     Plaintiff is over the age of nineteen (19) years and a bona fide resident of

Montgomery, Alabama. The plaintiff avers that he is an African-American, that is to say

his ethnicity is that which is said to be black. All actions complained of herein by the

plaintiff against the defendants occurred in Montgomery County, Alabama.

         2.     Defendant City of Montgomery is a municipality, duly organized and

existing pursuant to the laws of the State of Alabama. At all times material hereto, the

City of Montgomery operates Montgomery Police Department and is the employer of

Defendants Matthew D. Geier, Blake F. Hicks and David E. Shirah.
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        3.     Upon information and belief, Defendants Matthew D. Geier, Blake F.

Hicks and David E. Shirah are over the age of nineteen (19) years and are residents of

Montgomery County, Alabama and are citizens of the United States. At all times

material hereto, Defendants are employed as police officers with the City of

Montgomery, Alabama and are being sued in their individual capacity. At all times

material hereto, the actions of Defendants Hicks, Geier and Shirah as complained of

herein, occurred within the line and scope of their employment with the City of

Montgomery.

        4.     Defendants' actions as complained of herein and which proximately

caused the plaintiff's damages occurred within Montgomery County, Alabama.

Defendants City of Montgomery and Defendants Matthew D. Geier, Blake F. Hicks and

David E. Shirah are subjected to this Court's jurisdiction. Jurisdiction of this court is

invoked pursuant to, and in accordance with, the provisions of Title 28 U.S.C. § 1331

and 1343 this being an action to redress for damages and there being a federal question,

specifically pertaining to the plaintiff's civil rights as secured and guaranteed by the

Constitution and laws of the United States of America as enforced through Title 42

U.S.C. § 1983. The plaintiff invokes the court's pendent, ancillary or supplemental

jurisdiction to hear his claims pled herein that arise solely under Alabama state law.

        5.     Venue properly in this judicial district pursuant to Title 28 U.S. C. §

1391(b).

                                                 III.

                                   ALLEGATIONS OF FACT

       6.       On or about November 30, 2015, the plaintiff avers that he was at his
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residence, 6812 Briar Gate Court, Montgomery, Alabama. The plaintiff avers that he has

a privacy interest in his residence.

          7.    Plaintiff avers that defendants Matthew D. Geier, Blake F. Hicks and

David Shirah, acting within the line and scope of their employment, came to his residence

inquiring of the whereabouts of Braxton Williams. The plaintiff avers that the

Defendants Geier, Shirah and Hicks represented that they had an arrest warrant for

Braxton Williams. The plaintiff avers that Defendants Geier, Shirah and Hicks did not

have a search warrant to enter the plaintiff's premises and/or residence of 6812 Briar gate

Court, Montgomery, Alabama. Notwithstanding the defendants lacking a search warrant,

the plaintiff avers that defendants Shirah, Geier and Hicks entered the plaintiffs

residence and demanded that the plaintiff identify himself. The plaintiff avers that he

represented to the defendants that he is Brandon Williams to which the defendants

responded that he was lying and they represented that to the contrary he was in fact

Braxton Williams. The defendants, Geier, Shirah and Hicks proceeded to effectuate an

unlawful warrantless arrest of the plaintiff and in so doing subjected the plaintiff to

bodily injury, the use of excessive and deprivation of life and liberty without due process

of law.

          8.    Plaintiff avers that he was detained, arrested, jailed, release on bond and

subsequently prosecuted on criminal harassment.

          9.    Plaintiff avers that on or about April 19, 2016, he was vindicated of his

criminal prosecution.

          10.   Plaintiff avers that at all times material hereto, defendants Geier, Hicks

and Shirah were acting within their employment capacity as a law enforcement officer
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with the City of Montgomery Police Department and were performing a ministerial duty

as opposed to a discretionary function.

        11.    Plaintiff avers that Defendants Geier, Shirah and Hicks were acting under

color of State law, statute, ordinance, regulation, custom or usage. Defendants Geier,

Shirah and Hicks proceeded to effectuate a warrantless arrest of the plaintiff, charging

the plaintiff with a crime that he did not commit. To the contrary, plaintiff avers that

Defendants Geier, Shirah and Hicks arrested him without probable cause and beyond

their legal authority because they believe that he was Braxton Williams, notwithstanding

his having told them that he was Brandon Williams. Plaintiff avers that the defendants

did not request of him proof of his identity even if they believed that he was Braxton

Williams and not Brandon Williams.

        12.    Plaintiff avers that Defendants Matthew Dale Geier, Blake F. Shirah and

David Hicks acted with bad faith in effectuating his arrest and filing the criminal charge

against him because he overheard them talking amongst themselves at the police

department that they "messed up" in arresting him but that "we have to now charge him

with something".

        13.    Plaintiff avers that as a direct and proximate cause of the actions of the

defendants Hicks, Geier and Shitah, he was assaulted, battered, falsely arrested, falsely

imprisoned and maliciously prosecuted. Indeed, the plaintiff avers that the defendants

subjected him to such excessive force, without dignity and such inhumane treatment such

that hauled him off to jail without shirt and shoes, wearing his underwear and a shorts.

        14.    The plaintiff avers that as a direct and proximate cause of the actions of

the defendants he was caused to suffer a gross violation and deprivation of civil rights,
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privileges and/or immunities guaranteed and secured unto him by the Constitution and

laws of the United States and the State of Alabama.

        15.    The plaintiff avers that he has no prior criminal history.

                                             COUNT I

       Plaintiff avers that Defendants Hicks, Geier and Shirah, acting under Gestapo

tactics and pretenses, subjected him to civil rights violation, deprivation of rights secured

and guaranteed to him by the Constitution and laws of the United States, including,

unlawful entry of his home without a search warrant, unlawful search and seizure of his

person, the use of excessive force and deprivation of life, liberty and due process of law

and equal protection of law. These constitutional law claims are being asserted pursuant

to the Fourth and Fourteenth Amendment as enforced by Title 42 U.S.C. Section 1983.

        16.    Plaintiff avers that at all times material hereto Defendants Hicks, Geier

and Shirah, had no probable cause to believe that he had engaged in any criminal conduct

for effectuating a warrantless arrest of his person.

        17.    Plaintiff avers that at all times material hereto, the defendants' actions

were in accordance with a policy, custom and practices of race discrimination and racial

profiling of African-Americans, including, but not limited to, the plaintiff and his arrest

and prosecution were solely the product of racial profiling and overt discrimination on

the basis of the plaintiff's race. Indeed, plaintiff avers that the City of Montgomery has a

history dating back many years to the present, of engaging in acts of the use of excessive

force, engaging in acts of police brutality and even violating the rights of African-

Americans relative to the criminal justice system and particularly the administration of

justice by the City of Montgomery Municipal Court.
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        18.     Plaintiff avers that the actions of Defendants Hicks, Geier and Shirah

amounts to false imprisonment, racial profiling, and unlawful search and seizure, the use

of excessive force in violation of rights secured and guaranteed to the plaintiff by the

Constitution and laws of the United States of America and the laws of the State of

Alabama, including but not limited to, Alabama Municipal Tort Liability Act.

        19.     Plaintiff avers that the actions of Defendants Hicks, Geier and Shirah

were conducted in bad faith, maliciously, willfully, illegally, fraudulently and beyond

their lawful authority.

        20.     Plaintiff avers that the actions of Defendant Hicks, Geier and Shirah

violated clearly established law as to the plaintiff's civil rights as secured and guaranteed

by the Constitution and laws of the United States.

        21.     Defendant Hicks', Geier' s and Shirah 's actions violated the plaintiffs'

rights under the Fourth Amendment of the United States Constitution, to be secure and

protected from unreasonable warrantless searches and seizures, the use of excessive and

the Fourteenth Amendment. relative to Equal Protection of the law as the same are

substantively enforced through Title 42 U.S.C. Section 1983.

        22.     The actions of Defendants Hicks, Geier and Shirah were done under

color of state law, ordinance, statute, or regulation, in deprivation of rights secured and

guaranteed to the plaintiffs by the Constitution and laws of the United States, as

guaranteed by the Fourth and Fourteenth Amendments and enforced by Title 42 U.S.C.

1983.

        23.     Plaintiff avers that he has suffered damages as a direct and proximate

result of the actions of defendants Hicks, Geier and Shirah and the City of Montgomery.
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        WHEREFORE, PREMISES CONSIDERED, the plaintiff demands judgment

against the defendants Hicks, Geier and Shirah and the City of Montgomery, separately

and severally and seek damages for said deprivation of constitutional rights secured and

guaranteed to the plaintiff in an amount that the trier of fact may assess, plus interest and

costs.. Further, pursuant to Title 42 U.S.C. § 1988, plaintiff seeks to recover his costs and

attorney's fees for bringing this action.

                                             COUNT II


        MUNICIPAL TORT LIABILITY, ALA. CODE 1975, § 1147-190

        Plaintiff incorporates all the allegations contained in paragraphs one (1) through

twenty-Three (23) of this complaint, and will further show unto this Honorable Court to-

wit:

        24.     Plaintiff avers that Defendants Hicks, Geier and Shirah acted negligently,

carelessly and/or unskillfully when they subjected the plaintiff to a warrantless arrested

Without probable cause, bodily injury, incarceration and subsequent criminal prosecution.

        25.     Plaintiff avers that at all times material hereto, Defendants Hicks, Geier

and Shirah were employees of the City of Montgomery and a law enforcement officer,

acting within the line and scope of his employment.

       WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment

against Defendant City of Montgomery, with respect to the negligence of its employees

pursuant to Ala. Code 1975, § 11-47-190, in an amount that the trier of fact may assess,

plus interest and costs.
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                                            COUNT III

                                       FALSE IMPRISONMENT

        Plaintiff incorporates all the allegations contained in paragraphs one (1) through

twenty-five (25) of this complaint, and will further show unto this Honorable Court to-

wit:

        26.     Plaintiff avers that the actions of Defendants Hicks, Geier and Shirah

subjected the plaintiff to unlawful detention, without probable cause and thereby

depriving him of his liberty.

        26.     Plaintiff avers that Defendants Hicks, Geier and Shirah's arrest, detention

and incarceration of his person was not pursuant to any legal cause or process and

without justification.

        27.     As a direct and proximate result of defendants' interference with the

plaintiff's persons and deprivation of his liberty, the plaintiff has suffered damages for

which Alabama law provides a cause of action for false imprisonment as set forth in Ala.

Code, 1.975 § 6-5-170.

        WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment

against the defendants Hicks, Geier and Shirah in an amount that the trier of fact may

assess, plus interest and costs.

                                            COUNT IV

                                   ASSAULT& BATTERY

        Plaintiff adopts by reference, and incorporates in this cause of action, the

allegations of paragraph one (1) through twenty-seven (27) of this complaint, as if the

same were fully set forth herein and further say as follows:
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        28.    Plaintiff avers that the actions of the defendants Hicks, Shirah and Geier

as complained of herein subjected him to an offensive touching, harm and bodily injury.

       WHEREFORE PREMISES CONSIDERED, plaintiff demands judgment

against the defendants Hicks, Shirah and Geier jointly and severally in an amount that the

trier of fact may assess, plus interest and litigation costs and expenses.

                                             COUNT V

                              MALICIOUS PROSECUTION

        Plaintiff adopts by reference, and incorporates in this cause of action, the

allegations of paragraph one (1) through twenty-eight (28) of this complaint, as if the

same were fully set forth herein and further say as follows:

       29.     The plaintiff avers that the defendants Shirah, Hicks and Geier arrested

and subjected him to criminal prosecution on allegations of harassment. The Plaintiff

denies that he was guilty of having committed the crime of harassment or that he had

otherwise committed any criminal conduct or engaged in criminal malfeasance. Indeed,

he has not been adjudicated guilty of the same. The City of Montgomery Municipal

Court entered an Order dated April 19, 2016 adjudicating the criminal prosecution of the

plaintiff "nol-prossed".

        30.    Plaintiff avers that the actions of Defendants Shirah, Hicks and Geier were

reckless, deliberate and malicious.

       WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment

against Defendants Hicks, Geier and Shirah, separately and severally in an amount that

the trier of fact may assess, plus interest and litigation costs and expenses, for

proximately causing him damages having subjected him to malicious prosecution.
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                  PLAINTIFF DEMANDS A TRIAL BY JURY.
